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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

LEVI STRAUSS & CO.,
                                                     Case No. 18-cv-05866
                        Plaintiff,
                                                     Judge Charles P. Kocoras
       v.
                                                     Magistrate Judge Sidney I. Schenkier
A&Z BABY STORE, et al.,

                         Defendants.


                      NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Levi Strauss

& Co. (“LS&Co.”), hereby dismisses this action with prejudice against the following Defendant:

                Defendant Name                                    Line No.
            SexeMara Speciality Store                                28


Dated this 1st day of February 2019.               Respectfully submitted,

                                                   /s/ Justin R. Gaudio
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                                                   Justin R. Gaudio
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